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                IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF SOUTH CAROLINA
                         COLUMBIA DIVISION

Bernard and Susan Kuhn,                 )
                                        )
      Plaintiffs,                       )
                                        )        CIVIL ACTION FILE NO.
vs.                                     )
                                        )
The Travelers Home and Marine           )
Insurance Company,                      )
                                        )
      Defendant.                        )

                            NOTICE OF REMOVAL

      COMES NOW, The Travelers Home and Marine Insurance Company

(“Travelers”), Defendant in the above-styled action and petitions for removal of

the action herein referred from the Court of Common Pleas in Richland County,

South Carolina to the United States District Court for the District of South

Carolina, Columbia Division and respectfully shows the Court the following:

                                            1.

       Petitioner is the Defendant in a civil action brought against it in the Court of

Common Pleas in Richland County and styled Bernard and Susan Kuhn v. The

Travelers Home and Marine Insurance Company, Civil Action File No.: 2017-CP-




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40-00845 now pending in said court. A copy of the Summons and Complaint in

that action are attached hereto, marked Exhibit “A”, and made a part hereof. A

copy of the Answer being filed by the Defendant in that action is attached hereto,

marked Exhibit “B”, and made a part hereof.

                                          2.

      Said action was commenced by service of process consisting of said

Summons and Complaint upon Travelers’ registered agent located in Hartford,

Connecticut on February 21, 2018. The Summons, Complaint and Answer

constitute all pleadings that have been filed in said Court of Common Pleas as of

the date of the filing of this Notice of Removal, which is timely filed within thirty

(30) days of such service.

                                          3.

      There is diversity of citizenship among the parties. This is a controversy

between Plaintiffs, citizens and residents of South Carolina and Travelers, who is a

citizen of Connecticut. Travelers is not a citizen of the State of South Carolina

wherein this action was brought.




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                                          4.

      While Plaintiffs have not alleged a specific amount in controversy in their

Complaint, the matter in controversy exceeds the sum or value of Seventy-Five

Thousand Dollars ($75,000.00), exclusive of interest and costs. This alleged

amount in controversy is evidenced by a January 22, 2016 letter sent from counsel

for Plaintiffs to Travelers’ claim representative and adjuster Brian Martin. This

January 22, 2016 correspondence states, in part, “These losses exceed the policy

limits of Five Hundred Forty Five Thousand and no/100($545,000.00) Dollars.” As

a result, the underlying matter clearly exceeds the required amount in controversy.

See Exhibit “C”, Affidavit of Keith Frohock, attached hereto. Accordingly, this

case is a civil action brought in the Court of Common Pleas for which this United

States District Court has original jurisdiction due to diversity of citizenship and

meets the requisite amount in controversy under Section 1332 of Title 28 of the

United States Code.

                                          5.

      Travelers has given written Notice of the filing of the Notice of Removal to

Plaintiffs and to the Clerk of the Court of Common Pleas. A copy of the Notice of

the filing of the Notice of Removal is attached hereto as Exhibit “D.”




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            WHEREFORE, Travelers prays that this Petition be filed, and that said

action be removed to and proceed in this Court, and that no further proceedings be

had in said case in the Court of Common Pleas.

            Respectfully submitted this 22nd day of March, 2018.


                                                 /s/ Casey Crumbley
                                                 Casey Crumbley
                                                 South Carolina Bar No. 81241

                                                 Counsel for Travelers

DREW, ECKL & FARNHAM, LLP
303 Peachtree Street NE
Suite 3500
Atlanta, GA 30308
Phone: (404) 885-1400
Fax: (404) 876-0992


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                               CERTIFICATE OF SERVICE

            This is to certify that I have this day served all parties in this case a copy of

the NOTICE OF REMOVAL in accordance with the directives from the Court

Notice of Electronic Filing (“NEF”), which was generated as a result of electronic

filing, to the following:

                           SAVAGE, ROYALL & SHEHEEN, LLP
                                VINCENT A. SHEHEEN
                                   P.O. DRAWER 10
                                 CAMDEN, SC 29021

                                    MILLING LAW FIRM
                                  JONATHAN M. MILLING
                                   2910 DEVINE STREET
                                   COLUMBIA, SC 29205

            This 22nd day of March, 2018.


                                                    /s/ Casey Crumbley
                                                    Casey Crumbley
                                                    South Carolina Bar No. 81241

                                                    Counsel for Travelers
DREW, ECKL & FARNHAM, LLP
303 Peachtree Street NE
Suite 3500
Atlanta, GA 30308
Phone: (404) 885-1400
Fax: (404) 876-0992
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